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              IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN-DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA, et al., ex
rel. ASHOK JAIN, M.D.,
       Plaintiffs,
                                              CIVIL ACTION
        v.                                    No. 2:13-cv-06499-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.

UNITED STATES OF AMERICA, et al., ex
rel. JANE DOE, et al.,
       Plaintiffs,
                                              CIVIL ACTION
        v.                                    No. 2:14-cv-00921-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.

UNITED STATES OF AMERICA, et al., ex
rel. JUNE P. BRINSON, et al.,
       Plaintiffs,
                                              CIVIL ACTION
        v.                                    No. 2:14-cv-07275-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.

UNITED STATES OF AMERICA, et al., ex
rel. TIFFANY MITCHELL,

Plaintiffs,                                   CIVIL ACTION
                                              No. 2:15-cv-00259-AB
        v.

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.
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UNITED STATES OF AMERICA, ex rel.
JUDY PATE,
     Plaintiffs,
                                            CIVIL ACTION
      v.                                    No. 2:15-cv-00554-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.

UNITED STATES OF AMERICA, et al., ex
rel. RICKY NAYLOR,
        Plaintiffs,
                                            CIVIL ACTION
      v.                                    No. 2:14-cv-06198-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.

UNITED STATES OF AMERICA, et al., ex
rel. SHERALYN CHISHOLM,
       Plaintiffs,
                                            CIVIL ACTION
      v.                                    No. 2:17-cv-01892-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.

UNITED STATES OF AMERICA, ex rel.
RUSSELL PETERSON,
     Plaintiffs,
                                            CIVIL ACTION
      v.                                    No. 2:17-cv-01897-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.
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UNITED STATES OF AMERICA, ex rel.
CARRIE EBORALL,
     Plaintiffs,
                                            CIVIL ACTION
      v.                                    No. 2:17-cv-03249-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.

UNITED STATES OF AMERICA, ex rel.
CARMELLA GARDNER,
     Plaintiffs,
                                            CIVIL ACTION
      v.                                    No. 2:17-cv-03332-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.

UNITED STATES OF AMERICA, et al., ex
rel. MATTHEW SACHS, et al.,
       Plaintiffs,
                                            CIVIL ACTION
      v.                                    No. 2:17-cv-03604-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.

UNITED STATES OF AMERICA, et al., ex
rel. DEBRA CONAWAY, et al.,
       Plaintiffs,
                                            CIVIL ACTION
      v.                                    No. 2:17-cv-02233-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.
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UNITED STATES OF AMERICA, ex rel.
STEVEN G. KLOTZ,
     Plaintiffs,
                                                         CIVIL ACTION
        v.                                               No. 2:17-cv-05163-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.

UNITED STATES OF AMERICA, et al., ex
rel. WAYNE BROCKMAN, et al.,
       Plaintiffs,
                                                         CIVIL ACTION
        v.                                               No. 2:17-cv-05350-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.

UNITED STATES OF AMERICA, et al., ex
rel. THOMAS GLASS,
       Plaintiffs,
                                                         CIVIL ACTION
        v.                                               No. 2:18-04018-AB

UNIVERSAL HEALTH SERVICES INC., et
al.,
     Defendants.



                                            ORDER

       AND NOW, this 11th day of August 2020 it is ORDERED that pursuant to Fed. R.

Civ. P. 41(a)(2) and the qui tam provisions of the False Claims Act, 31 U.S.C. § 3730(b)(1),

and in accordance with the July 6, 2020 Settlement Agreement among the United States,

defendant Universal Health Services, Inc. (“UHS”), and relators (the “federal
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Settlement Agreement”) and the July 7, 2020 settlement agreements between the participating

plaintiff states 2 and UHS (the “state settlement agreements”), these actions are:

       (1) DISMISSED WITH PREJUDICE as to relators, with the exception of certain relators’

claims for costs, fees, and expenses pursuant to 31 U.S.C. § 3730(d) or for retaliation pursuant to

31 U.S.C. § 3730(h) as detailed below;

       (2) DISMISSED WITH PREJUDICE as to the United States and the participating

plaintiff states with respect to the Covered Conduct set forth in the Settlement Agreement and

WITHOUT PREJUDICE as to the United States and the participating plaintiff states as to all

remaining claims; and

       (3) United States, et al. ex rel. Doe, et al. v. Universal Health Services, Inc., et al., No.

2:14-cv-00921, is DISMISSED WITHOUT PREJUDICE as to the State of Hawaii;

       It is FURTHER ORDERED that this Court will retain jurisdiction over any disputes that

may arise regarding the settlement agreements.

       Pursuant to (1) above, the following claims are excluded from this dismissal:

       (a) In United States ex rel. Chisholm v. Universal Health Services, Inc., et al., No. 2:17-

           cv-01892-AB, relator’s claims for costs, fees, and expenses pursuant to 31 U.S.C.

           § 3730(d) and for retaliation pursuant to 31 U.S.C. § 3730(h);

       (b) In United States ex rel. Brinson, et al. v. Universal Health Services, Inc., et al., No.

           2:14-cv-07275-AB, relators’ claims for costs, fees, and expenses pursuant to 31

           U.S.C. § 3730(d) and relator Demeka Smith’s claim for retaliation pursuant to 31

           U.S.C. § 3730(h);



2
 The “participating plaintiff states” are California, Colorado, Connecticut, Delaware, Florida,
Georgia, Illinois, Indiana, Louisiana, Massachusetts, Michigan, Minnesota, Nevada, New Jersey,
New Mexico, North Carolina, Oklahoma, Tennessee, Texas, Virginia, and Washington.
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(c) In United States ex rel. Mitchell v. Turning Point Care Center, Inc., et al., No. 2:15-

   cv-00259-AB, relator’s claims for costs, fees, and expenses pursuant to 31 U.S.C.

   § 3730(d) and for retaliation pursuant to 31 U.S.C. § 3730(h);

(d) In United States ex rel. Conaway, et al. v. Universal Health Services, Inc., et al., No.

   2:17-cv-02233-AB, relators’ claims for costs, fees, and expenses pursuant to 31

   U.S.C. § 3730(d);

(e) In United States ex rel. Eborall v. Universal Health Services, Inc., et al., No. 2:17-cv-

   03249-AB, relator’s claims for costs, fees, and expenses pursuant to 31 U.S.C.

   § 3730(d); and

(f) In United States ex rel. Brockman, et al. v. Universal Health Services, Inc., et al., No.

   2:17-cv-05350-AB, relators’ claims for costs, fees, and expenses pursuant to 31

   U.S.C. § 3730(d).

                                       BY THE COURT:


                                        s/ ANITA B. BRODY, J.
                                       HONORABLE ANITA B. BRODY
                                       Judge, United States District Court
